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                  IN THE UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

U.S. EQUAL EMPLOYMENT                      :   CIVIL ACTION NO. 1:18-CV-1539
OPPORTUNITY COMMISSION,                    :
                                           :   (Chief Judge Conner)
                     Petitioner            :
                                           :
               v.                          :
                                           :
SERVICE TIRE TRUCK CENTERS,                :
                                           :
                     Respondent            :

                                       ORDER

      AND NOW, this 17th day of October, 2018, upon consideration of the

application (Doc. 1) to enforce an administrative subpoena filed by petitioner U.S.

Equal Employment Opportunity Commission (“EEOC”), and for the reasons stated

in the accompanying memorandum, it is hereby ORDERED that:

      1.       The EEOC’s application (Doc. 1) for enforcement of its administrative
               subpoena is GRANTED in part and DENIED in part as follows:

               a.    Subpoena requests numbers 5, 9, and 17 are circumscribed to
                     exclude the following information from requested personnel
                     files: medical and healthcare information unrelated to
                     pregnancy, retirement plan information, names and other
                     identifying details for spouses and dependents, personal email
                     addresses, copies of social security cards, and tax information
                     beyond earnings and salary.

               b.    Subpoena request number 16 is circumscribed to exclude
                     employee social security numbers.

               c.    Respondent Service Tire Truck Centers must otherwise fully
                     respond to request numbers 5, 9, 16, and 17, and to all other
                     amended subpoena requests, (see Doc. 1 ¶ 8(b); Gokhale Decl.,
                     Ex. 19), on or before Friday, October 26, 2018.
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2.       The Clerk of Court is directed to CLOSE this case.




                                  /S/ CHRISTOPHER C. CONNER
                                  Christopher C. Conner, Chief Judge
                                  United States District Court
                                  Middle District of Pennsylvania
